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 7
 8                                    UNITED STATES DISTRICT COURT
 9                                  NORTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                                  Case No. CR 06-00217 DLJ
12                           Plaintiff,                          STIPULATION AND [PROPOSED]
                                                                 ORDER MODIFYING DEFENDANT
13            vs.                                                JAMES WHITE’S CONDITIONS OF
                                                                 RELEASE
14    JAMES WHITE, et al.,
15                           Defendants.
16                                                STIPULATION
17          On March 20, 2006, Defendant James White was released on bail in the above-captioned matter.
18   One of Mr. White’s conditions of release was that he not travel outside of the Northern District of
19   California without court-ordered permission.
20          Mr. White has requested that he be allowed to travel to the East Coast in May 2006, on a
21   vacation that was arranged and paid for prior to Mr. White’s arrest in this case. If Mr. White’s travel is
22   approved, Mr. White will leave on May 4, 2006, and return to the Northern District of California on May
23   14, 2006. Mr. White will initially travel to New York, where he will stay until May 7, 2006. On May 7,
24   2006, Mr. White will drive to Rhode Island to visit his sister; he will stay in Rhode Island, and visit his
25   grandmother and extended relatives in nearby Massachusetts, until May 9, 2006. On May 9, 2006 to
26   May 10, 2006, Mr. White will stay with his father in Maine. From May 10, 2006 to May 14, 2006, Mr.
27   White will visit his mother in New Hampshire. At each stage of his trip, Mr. White will be accompanied
28   by Oscar Perez, who is one of Mr. White’s sureties in this matter.
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 1          Counsel for Mr. White has spoken with United States Pretrial Service Officer Michelle Nero, and
 2   Ms. Nero has no objections to this request. Prior to his departure, Mr. White will provide Ms. Nero with
 3   a copy of his itinerary and with a list of all addresses at which he will be staying throughout his trip. In
 4   addition, Mr. White will have his cellular telephone with him during his trip and will be able to be
 5   reached if necessary.
 6          Therefore, the parties HEREBY STIPULATE that the release conditions for James White in the
 7   above-captioned case may be modified to permit his aforementioned travel to the East Coast between
 8   May 4, 2006, and May 14, 2006.
 9   IT IS SO STIPULATED.
10
11   DATED:
12
                                                            EDWARD W. SWANSON
13                                                          ALEXIS HALLER
                                                            Swanson, McNamara & Haller LLP
14                                                          Counsel for JAMES WHITE
15
     DATED:
16
17                                                          ALICIA FENRICK
                                                            Assistant United States Attorney
18
19
                                                       ORDER
20
            Good cause appearing therefor, and upon the stipulation of the parties, the Court HEREBY
21
     ORDERS that the release conditions for James White in the above-captioned case are modified to permit
22
     his above-referenced travel to the East Coast between May 4, 2006 and May 14, 2006.
23
            IT IS SO ORDERED.
24
25
     DATED:
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27                                                          The Honorable Wayne D. Brazil
                                                            United States Magistrate Judge
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